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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


    MARCIA BARAN,

                         Plaintiff,                        Civil Action No.

         v.                                                COMPLAINT FOR DECLARATORY
                                                           AND INJUNCTIVE RELIEF
    URBANSTEMS, INC.,

                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        MARCIA BARAN (“Plaintiff”), by and through her undersigned counsel, seeks a

permanent injunction requiring a change in URBANSTEMS, INC. (“UrbanStems”, and

“Defendant”) corporate policies to cause its Website (defined below) to become, and remain,

accessible to individuals with visual disabilities. In support thereof, Plaintiff respectfully asserts

as follows:

                                        INTRODUCTION

        1.       In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

        The Department [of Justice] first articulated its interpretation that the ADA applies
        to public accommodations’ websites over 20 years ago. This interpretation is
        consistent with the ADA’s title III requirement that the goods, services, privileges,
        or activities provided by places of public accommodation be equally accessible to
        people with disabilities.1


1
      See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
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        2.       Plaintiff Marcia Baran is totally blind. She had previously worked as a social

worker for twenty years. She uses screen readers, including guide connect, to navigate the internet.

        3.       Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (Weinstein, J.).

        The screen reading software uses auditory cues to allow a visually impaired user to
        effectively use websites. For example, when using the visual internet, a seeing user
        learns that a link may be “clicked,” which will bring her to another webpage,
        through visual cues, such as a change in the color of the text (often text is turned
        from black to blue). When the sighted user's cursor hovers over the link, it changes
        from an arrow symbol to a hand.

        The screen reading software uses auditory—rather than visual—cues to relay this
        same information. When a sight impaired individual reaches a link that may be
        “clicked on,” the software reads the link to the user, and after reading the text of
        the link says the word “clickable.”…Through a series of auditory cues read aloud
        by the screen reader, the visually impaired user can navigate a website by listening
        and responding with her keyboard.

Id. at *6-7.2

        4.       Defendant is a leader in the design, development, manufacture and distribution of

flowers and similar products, under their recognized brand UrbanStems.

        5.       Consumers may purchase Defendant’s products and access other brand-related

content and services at https://urbanstems.com/, (“Website”), the Website Defendant owns,

operates, and controls.3




https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last
accessed February 11, 2020).
2
         See American Foundation for the Blind, Screen Readers, available at
https://www.afb.org/node/16207/screen-readers (last accessed February 11, 2020) (discussing
screen readers and how they work).
3
         UrbanStems Privacy Policy, available at https://urbanstems.com/privacy-policy (last
accessed February 26, 2020).
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       6.       In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Website to

contact customer service by phone and email, find local retailers, sign up to receive product

updates, product news, and special promotions, review important legal notices like Defendant’s

Privacy Policy and Terms and Conditions, track online orders, and more.4

       7.       Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

       8.       Unfortunately, Defendant denies approximately 8.1 million5 Americans who have

difficulty seeing access to its website’s goods, content, and services because the Website is largely

incompatible with the screen reader programs these Americans use to navigate an increasingly

ecommerce world.

       9.       Plaintiff brings this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of its

services, facilities, privileges and advantages; (2) provide such persons with benefits that are equal

to those provided to nondisabled persons; (3) provide auxiliary aids and services—including

electronic services for use with a computer screen reading program—where necessary to ensure

effective communication with individuals with a visual disability, and to ensure that such persons

are not excluded, denied services, segregated or otherwise treated differently than sighted



4
       See, e.g., UrbanStems Home Page, available at https://urbanstems.com/ (last accessed
February 26, 2020).
5
       Press Release, United States Census Bureau, Nearly 1 in 5 People Have a Disability in the
U.S., Census Bureau Reports Report Released to Coincide with 22nd Anniversary of the ADA (Jul.
25, 2012), available at https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-
134.html (last accessed February 11, 2020) (“About 8.1 million people had difficulty seeing,
including 2.0 million who were blind or unable to see.”).
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individuals; and (4) utilize administrative methods, practices, and policies that provide persons

with disabilities equal access to online content.

       10.      By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Title III was meant to redress.

       11.      Because Defendant’s Website is not and has never been fully accessible, and

because upon information and belief Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause its website to become and remain

accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring

Defendant to:

             a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                Consultant”) who shall assist in improving the accessibility of their Website,
                including all third-party content and plug-ins, so the goods and services on the
                Website may be equally accessed and enjoyed by individuals with vision related
                disabilities;

             b) Work with the Web Accessibility Consultant to ensure all employees involved in
                website and content development be given web accessibility training on a biennial
                basis, including onsite training to create accessible content at the design and
                development stages;

             c) Work with the Web Accessibility Consultant to perform an automated accessibility
                audit on a periodic basis to evaluate whether Defendant’s Website may be equally
                accessed and enjoyed by individuals with vision related disabilities on an ongoing
                basis;

             d) Work with the Web Accessibility Consultant to perform end-user
                accessibility/usability testing on at least a quarterly basis with said testing to be
                performed by humans who are blind or have low vision, or who have training and
                experience in the manner in which persons who are blind use a screen reader to
                navigate, browse, and conduct business on websites, in addition to the testing, if
                applicable, that is performed using semi-automated tools;


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 e) Incorporate all of the Web Accessibility Consultant’s recommendations within
    sixty (60) days of receiving the recommendations;

 f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
    that will be posted on its Website, along with an e-mail address, instant messenger,
    and toll-free phone number to report accessibility-related problems;

 g) Directly link from the footer on each page of its Website, a statement that indicates
    that Defendant is making efforts to maintain and increase the accessibility of its
    Website to ensure that persons with disabilities have full and equal enjoyment of
    the goods, services, facilities, privileges, advantages, and accommodations of the
    Defendant through the Website;

 h) Accompany the public policy statement with an accessible means of submitting
    accessibility questions and problems, including an accessible form to submit
    feedback or an email address to contact representatives knowledgeable about the
    Web Accessibility Policy;

 i) Provide a notice, prominently and directly linked from the footer on each page of
    its Website, soliciting feedback from visitors to the Website on how the
    accessibility of the Website can be improved. The link shall provide a method to
    provide feedback, including an accessible form to submit feedback or an email
    address to contact representatives knowledgeable about the Web Accessibility
    Policy;

 j) Provide a copy of the Web Accessibility Policy to all web content personnel,
    contractors responsible for web content, and Client Service Operations call center
    agents (“CSO Personnel”) for the Website;

 k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
    users with disabilities who encounter difficulties using the Website. Defendant
    shall have trained no fewer than 3 of its CSO personnel to timely assist such users
    with disabilities within CSO published hours of operation. Defendant shall
    establish procedures for promptly directing requests for assistance to such
    personnel including notifying the public that customer assistance is available to
    users with disabilities and describing the process to obtain that assistance;

 l) Modify existing bug fix policies, practices, and procedures to include the
    elimination of bugs that cause the Website to be inaccessible to users of screen
    reader technology;

 m) Plaintiff, his counsel, and their experts monitor the Website for up to two years after
    the Mutually Agreed Upon Consultant validates the Website are free of
    accessibility errors/violations to ensure Defendant has adopted and implemented
    adequate accessibility policies. To this end, Plaintiff, through his counsel and their
    experts, shall be entitled to consult with the Web Accessibility Consultant at their
    discretion, and to review any written material, including but not limited to any
    recommendations the Website Accessibility Consultant provides Defendant.
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       12.     Web-based technologies have features and content that are modified on a daily, and

in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause

the website to remain accessible without a corresponding change in corporate policies related to

those web-based technologies. To evaluate whether an inaccessible website has been rendered

accessible, and whether corporate policies related to web-based technologies have been changed

in a meaningful manner that will cause the website to remain accessible, the website must be

reviewed on a periodic basis using both automated accessibility screening tools and end user

testing by disabled individuals.

                                   JURISDICTION AND VENUE

       13.     The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.     Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by clearly performing business over the Internet. Through its website, Defendant

entered into contracts for the sale of its products and services with residents of Connecticut. These

online sales contracts involve, and indeed require, Defendant’s knowing and repeated transmission

of computer files over the Internet. See Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d

287 (D. Mass. 2017) (exercising personal jurisdiction over forum plaintiff’s website accessibility

claims against out-of-forum website operator); Access Now, Inc. v. Sportswear, Inc., 298 F. Supp.

3d 296 (D. Mass. 2018) (same).

       15.     As described in additional detail below, Plaintiff was injured when she attempted

to access Defendant’s Website from her home in this District but encountered barriers that denied

her full and equal access to Defendant’s online goods, content, and services.




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        16.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claim

occurred.

                                              PARTIES

        17.     Plaintiff Baran is and, at all times relevant hereto, has been a resident of Hartford

County, Connecticut. Plaintiff is and, at all times relevant hereto, has been legally blind and is

therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

        18.     Plaintiff asserts that Defendant UrbanStems Inc. is a Delaware corporation with its

principal place of business at 1615 L Street NW, Suite 1230, Washington, DC 20036.

                           FACTS APPLICABLE TO ALL CLAIMS

        19.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals

with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.

                                DEFENDANT’S ONLINE CONTENT

        20.     Defendant’s Website allows consumers to research and participate in Defendant’s

services and products from the comfort and convenience of their own homes.

        21.     The Website also enables consumers to contact customer service by phone and

instant messenger, find local retailers, sign up to receive product updates, product news, and




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special promotions, review important legal notices like Defendant’s Privacy Policy and Terms and

Conditions, track online orders, and more.

       22.     Consumers may use the Website to connect with Defendant on social media, using

sites like Facebook, Twitter, Instagram, and YouTube.

                                    HARM TO PLAINTIFF
       23.     Plaintiff attempted to access the Website from her home in West Hartford,

Connecticut. Unfortunately, because of Defendant’s failure to build the Website in a matter that is

compatible with screen reader programs, Plaintiff is unable to understand, and thus is denied the

benefit of, much of the content and services she wishes to access on the Website. For example:

               a.      Defendant’s Website is so constructed that the promotional pop-up is not

announced. During the checkout process, we were presented with a pop-up window with an offer.

This pop-up was not announced, and it did not receive a keyboard-focus. Instead, we continued to

hear the items behind the pop-up but not the pop-up itself. The result is that screen-reader users

will not know it is present and keyboard-only users will not be able to enter their email address to

receive the offer.




               b.      Defendant’s Website’s date picker is only accessible when navigating with

the up and down arrows. The delivery date picker opens to reveal a calendar and users are
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instructed to use the arrow keys to select a date. In Firefox, using NVDA, the right arrow key took

us to the list of images below the date picker. The up, down and left arrows did change the date

and we could see that the Add to Cart button visually changed based on the date but “blank” was

announced instead of the date. The message in the Add to Cart button, which changed temporarily,

was never announced.




               c.      Defendant’s Website is so constructed that keyboard-only users are unable

to add additional options to their product. Additional product options are excluded from normal

navigation and are non-actionable for keyboard-only users and screen-reader users. The additional

items are actionable elements that receive a checkmark if selected so they must be accessible via

the normal navigation standard. If a user navigates using the tab key, then they will hear the

following: (1) “List with three items button not available” (left navigation button); (2) “Button”

(for the right navigation button); (3) Add to Cart; (4) All product options are skipped. A user who

finds an alternate navigation method can get the items to announce but when they do select an item

then only a checkmark is displayed visually. No notification is provided to alert a screen-reader

user that the item was successfully added to the cart. Instead, it will appear that the item was not

added.



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           24.   These barriers, and others, denies Plaintiff full and equal access to all of the services

the Website offers, and now deters her from attempting to use the Website. Still, Plaintiff would

like to, and intends to, attempt to access the Website in the future to research the products and

services the Website offer, or to test the Website for compliance with the ADA.

           25.   If the Website were accessible, i.e., if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.

           26.   Though Defendant may have centralized policies regarding the maintenance and

operation of the Website, Defendant has never had a plan or policy that is reasonably calculated to

make the Website fully accessible to, and independently usable by, individuals with vision related

disabilities. As a result, the complained of access barriers are permanent in nature and likely to

persist.




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        27.     The law requires that Defendant reasonably accommodates Plaintiff’s disabilities

by removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

        28.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
        29.     Defendant has long known that sufficient contrast and skip navigation links are

necessary for individuals with visual disabilities to access its online content and services, and that

it is legally responsible for providing the same in a manner that is compatible with these auxiliary

aids.

        30.     Indeed, the “Department [of Justice] first articulated its interpretation that the ADA

applies to public accommodations’ websites over 20 years ago.” As described above, on September

25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the ADA, nor the

Department’s enforcement of it, has changed this interpretation.

         THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

        31.     There is no DOJ administrative proceeding that could provide Plaintiff with Title

III injunctive relief.

        32.     While DOJ has rulemaking authority and can bring enforcement actions in court,

Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiff with relief.

        33.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

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       34.     Resolution of Plaintiff’s claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g., (a) whether Defendant offers content and services on its website, and (b) whether

Plaintiff can access the content and services.

                                 SUBSTANTIVE VIOLATIONS

                                             COUNT I

                          Title III of the ADA, 42 U.S.C. § 12181 et seq.

        35.    The assertions contained in the previous paragraphs are incorporated by reference.

        36.    Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7).

        37.    In the broadest terms, the ADA prohibits discrimination on the basis of a disability

in the full and equal enjoyment of goods and services of any place of public accommodation. 42

U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiff with full and equal

access to its website, they have violated the ADA.

        38.    In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.

        39.    Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service or fails to provide a like experience

to the disabled person.



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         40.    Auxiliary aids and services include, but are not limited to, audio recordings, screen

reader software, magnification software, optical readers, secondary auditory programs, large print

materials, accessible electronic and information technology, other effective methods of making

visually delivered materials available to individuals who are blind or have low vision, and other

similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

         41.    In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ] accommodations

should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc., 630 F.3d 1153, 1163

(9th Cir. 2011).

         42.    By failing to provide its website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual, licensing,

or other arrangements, in illegal disability discrimination, as defined by Title III, including without

limitation:

                (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its website;

                (b)     affording individuals with visual disabilities access to its website that is not

equal to, or effective as, that afforded others;

                (c)     utilizing methods of administration that (i) have the effect of discriminating

on the basis of disability; or (ii) perpetuate the discrimination of others who are subject to common

administrative control;




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               (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

               (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

       43.     Defendant has violated Title III by, without limitation, failing to make its website’s

services accessible by screen reader programs, thereby denying individuals with visual disabilities

the benefits of the Website, providing them with benefits that are not equal to those it provides

others, and denying them effective communication.

       44.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its website to be made available without

consideration of consumers who can only access the company’s online goods, content, and services

with screen reader programs.

       45.     Making its online goods, content, and services compatible with screen reader

programs does not change the content of Defendant’s Website or result in making the Website

different, but rather enables individuals with visual disabilities to access the Website Defendant

already provides.

       46.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction, will continue to cause harm to Plaintiff and other individuals with visual disabilities.

       47.     Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       48.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.



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                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       (A)     A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its website was fully accessible to, and independently usable by,

individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its website is fully accessible to, and independently usable by, blind individuals, and which further

directs that the Court shall retain jurisdiction for a period to be determined to ensure that Defendant

has adopted and is following an institutional policy that will in fact cause them to remain fully in

compliance with the law—the specific injunctive relief requested by Plaintiff is described more

fully in paragraph 11 above.

       (C)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (D)     Payment of costs of suit;

       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may



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include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11) (same);

       (F)    The provision of whatever other relief the Court deems just, equitable and

appropriate; and

       (G)    An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

Dated: March 10, 2020                           Respectfully Submitted,

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